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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 05-cv-00377-WDM-BNB

  MOISES CARRANZA-REYES,

  Plaintiff,

  v.

  THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS,
  FRED WEGENER, individually and in his capacity as Sheriff of Park County, Colorado,
  MONTE GORE, individually and in his capacity as Captain of Park County Sheriff’s Department,
  VICKIE PAULSEN, individually and in her official capacity as Registered Nurse for Park
  County, Colorado, and
  JAMES BACHMAN, M.D., individually and in his official capacity as Medical Director of the
  Park County jail,

  Defendants.
  ______________________________________________________________________________

                                   MINUTE ORDER
  ______________________________________________________________________________
  Minute Order Entered by Magistrate Judge Boyd N. Boland

        This matter is before the Court on the Joint Stipulated Motion for Amendment to
  Scheduling Order [docket no. 76, filed July 6, 2006] (the “Motion”).

         IT IS ORDERED that the Motion is GRANTED and the Scheduling Order is amended as
  follows:

          Expert Witness Disclosures:
                 The defendants shall designate all experts and provide opposing
                 counsel with all information specified in Fed. R. Civ. P. 26(a)(2) on
                 or before August 17, 2006;

                 The plaintiff shall designate all rebuttal experts and provide
                 opposing counsel with all information specified in Fed. R. Civ. P.
                 26(a)(2) on or before September 15, 2006;

          Discovery Cut-Off:                                   October 13, 2006;

          Dispositive Motions Deadline:                        November 14, 2006.
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          IT IS FURTHER ORDERED that the Pretrial Conference set for December 7, 2006, is
  vacated and reset to March 13, 2006, at 9:00 a.m., in Courtroom A-401, Fourth Floor, Alfred
  A. Arraj United States Courthouse, 901 19th Street, Denver, Colorado 80294. The proposed
  Pretrial Order, submitted pursuant to District of Colorado ECF Procedures V.L.1.b., is due on or
  before March 6, 2006. Please remember that anyone seeking entry into the Alfred A. Arraj
  United States Courthouse will be required to show a valid photo identification. See
  D.C.COLO.LCivR 83.2B.



  DATED: July 7, 2006
